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                                                                                                  E-FILED
13256-129 TMP/MER                                               Monday, 22 November, 2021 01:15:44 PM
                                                                           Clerk, U.S. District Court, ILCD

                            IN THE UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF ILLINOIS
                                    ROCK ISLAND DIVISION

JERMAINE D. CARPENTER,                            )
                                                  )
              Plaintiff,                          )
                                                  )
       v.                                         )        Law No. 20-cv-04161-CSB-JEH
                                                  )
SHAN JUMPER, SHARLENE CARAWAY, J.R.               )
REID, GERALD CARREON, PAULA LODGE,                )
DIANA DOBIER, AND LINDSEY WAGNER,                 )
                                                  )
              Defendants.                         )

                    CERTIFICATE OF SERVICE OF DISCOVERY DOCUMENT

       The undersigned certifies that on Monday, November 22, 2021, a copy of Defendants’

Rule 26(a)(2) Expert Witness Disclosures was served upon the individual named below by

enclosing same in an envelope with postage prepaid, and by depositing said envelope in a

United States Post Office mailbox, addressed to such party at the business address as disclosed

by the pleading of record herein:

              Jermaine D. Carpenter, #B32167
              Pinckneyville Correctional Center
              Inmate Mail/Parcels
              5835 State Route 154
              Pinckneyville, IL 62274




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                                                     Respectfully Submitted,

                                                     SHARLENE CARAWAY, GERALD CARREON,
                                                     DIANA DOBIER, SHAN JUMPER, PAULA
                                                     LODGE, J.R. REID and LINDSEY WAGNER,
                                                     Defendants

                                                     s/ Theresa M. Powell
                                                     Theresa M. Powell, IL ARDC #: 6230402
                                                     Martha E. Ravenhill, IL ARDC #: 6306797
                                                     HEYL, ROYSTER, VOELKER & ALLEN, P.C.
                                                     3731 Wabash Avenue
                                                     Springfield, IL 62711-6261
                                                     Phone: 217.522.8822, Ext. 2222/5225
                                                     Fax:   309.420.0402
                                                     Email: tpowell@heylroyster.com
                                                            mravenhill@heylroyster.com

                                         PROOF OF SERVICE

I hereby certify that on Monday, November 22, 2021, I electronically filed the foregoing
instrument, CERTFICIATE OF SERVICE OF DISCOVERY DOCUMENT, with the Clerk of the Court
using the CM/ECF system.

I further hereby certify that on Monday, November 22, 2021, I have mailed by United States
Postal Service the foregoing instrument, CERTFICIATE OF SERVICE OF DISCOVERY DOCUMENT,
to the following non-CM/ECF participant:

         Jermaine D. Carpenter, #B32167
         Pinckneyville Correctional Center
         Inmate Mail/Parcels
         5835 State Route 154
         Pinckneyville, IL 62274
         Pro Se Plaintiff

                                                     s/ Theresa M. Powell
                                                                    Theresa M. Powell

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